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IN THE UNITED STATES DISTRICT COURT F"“ED BY liga D‘C-
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIvIsION 95 JUL l l PH h= 09
ll'DM%S M. GOULD
MARILE BRISC(), CL%%§ QB§FP,FWT
Plaintiff,

V.

NO.: 04-2222-B-An

CCL CUSTOM MANUFACTURING, INC.,

Defendant.

 

AMENDED RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Order cf Reference entered June 3, 2005, a Scheduling Conference was

held on June 30, 2005 and the following dates Were established as the final dates for:

COMPLETING ALL DISCOVERY:
(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and
REQUESTS FOR ADMISSI()NS: December 9, 2005
(b) DEPOSITIONS: December 9, 2005
(c) EXPERT DISCLOSURE (Rule 26(3)(2)):
(i) Plaintiff’s Experts: Octt)ber 10, 2005

(ii) Defendant’s Experts: November 9, 2005
(iii) Supplernentation under Rule 26(e): Novernber 22, 2005

FILING DISFOSITIVE MOTIONS: January ]0, 2006

This document entered on the docket hth inzc:czté)iisajpe
with Flu|e 58 and/er ?9(3) FHCP on i" l -
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FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: 45 days prior to trial
(b) for Defendant: 30 days prior to tn` al

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 2-3 days. The presiding judge will set
this matter for NON-JURY TRIAL. In the event the parties are unable to agree on a joint
pretrial order, the parties must notify the court at least ten days before trial.

()THER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation,

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge. The parties will file a written consent form with the court

should they decide to proceed before the magistrate judge.

The parties are ordered to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice.

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Absent good cause shown, the schedulin

g dates set by this Order will not be modified or
extended.

IT IS SO ORDERED.

graham @..,

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: QH 11| aff 2005/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02222 Was distributed by fax, mail, or direct printing on
July 12, 2005 to the parties listed.

ESSEE

 

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Honorable .l. Breen
US DISTRICT COURT

